          Case 1:19-cr-00318-GLR Document 295 Filed 03/02/20 Page 1 of 9




                                                                        ,   .-.- ... ,-
                                                           CLt.l\'\ ':'~-~~'l":'-;:
 Mauhew DellaBelta
Assistant United Stares Attorney                            Ar B!, \:f~i/e'00.-
                                                              I   •   36 S. Charles Street
                                                                                                  DIRECT:
                                                                                                    },fAIN:
                                                                                                              410.209-4857
                                                                                                              410-209-4800
Matr1Jew.De/laBelta@USdoj.gov                                         Baltimore:MD 11trll-31 19
                                                                                 v ....
                                                                                     ' -'
                                                   ,   ,-----
                                                       V                    __




                                                                      February 3, 2020
Gerald Ruter, Esq.

VIA EMAIL

                                   Re:   United States v. Linwood Davis. Crim. No. GLR-19-0318

Dear Counsel:

        This letter, together with the Sealed Supplement, confirms the plea agreement (this
"Agreement") that has been offered to your client, Linwood Davis (hereinafter "Defendant"), by
the United States Attorney's Office for the District of Maryland ("this Office"). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If the
Defendant does not accept the Agrcemcnt by Fcbruary 20, 2020, it will bc deemed withdrawn.
The terms of the Agreement are as follows:

                                                Offense of Conviction

        1.     The Defendant agrees to plead guilty to Count Eight of the Second Superseding
Indictment, which charges him with Possession of a Firearm by a Prohibitcd Person, in violation
of 18 U.S.C. ~ 922(g)(l). The Defcndant admits that the Defendant is, in fact, guilty ofthe offense
and will so advise the Court.

                                               Elements of the Offense

        2.       The clements of the offense to which the Defendant has agreed to plead guilty, and
which this Office wonld prove if the case went to trial, are as follows: on or about March 21,2019,
in the District of Maryland, the Defendant:

                a. having knowingly been convicted of a crime punishable by imprisonment for a term
                   exceeding one year;

                b. knowingly possessed a firemTIl, to wit: one Remington RM380 pistol bearing serial
                   number RM024700C; one H&R 929 revolver bearing serial number AN35744; one
                   Sig Sauer P250 pistol bearing serial number EAK093284; and one Taurus PT 224-
                   7 Pro pistol bearing serial number SBM51917; and
     3.
         Case 1:19-cr-00318-GLR Document 295 Filed 03/02/20 Page 2 of 9

               a. the firearms affected interstate commerce.

                                                Penalties

        4.      The maximum penalties provided by statute for the offense to which the Defendant
is pleading guilty are as follows:

  COUNT        STATUTE         MAND.MIN.       MAX                MIN.        MAX FINE      SPECIAL
                               IMPRISON-     lMPRISON-         SUPERVISED                   ASSESS-
                                 MENT          MENT             RELEASE                      MENT
     8         18 U.S.c.   S   N/A           IOyears           3 years        $250,000      $100
               922(~)(J)


         a.     Prison: If the Court orders a term of imprisonment, the Bureau of Prisons has sole
discretion to designate the institution at which it will bc servcd.

        b.      Supervised Release: If thc Court orders a term of supervised release, and the
Defendant violates thc conditions of superviscd release, the Court may order thc Defendant
returned to custody to serve a tcrm of imprisonment up to thc entire original term of supervised
release if pcrmitted by statute, followed by an additioualterm of supervised release.

          c.      Restitution: The Court may order the Defendant to pay restitution pursuant to 18
U.S.C.    SS 3663, 3663A, and 3664.

         d.       Payment: If a fine or restitution is imposed, it shall be payable immediately, unless
the COUli orders otherwise under 18 U.S.C. S 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due.

         e.      Forfeiture: The Court may enter an order of forfeiture of assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property subject
to forfeiture.

        f.       Collection of Debts: If the Court imposes a fine or restitution, this Office's
Financial Litigation Unit will be responsible for collecting thc debt. If the Court establishes a
schedulc of payments, the Dcfendant agrccs that: (I) thc full amouut of thc fine or rcstitution is
nonetheless due and owing immediately; (2) the schcdule of payments is merely a minimum
schcdule of payments and not thc only mcthod, nor a limitation ou the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on thc total amount of thc debt as provided by law. Until the debt is paid, the Defeudant
agrees to disclose all assets in which the Dcfendant has any interest or over which the Defendant
exercises direct or indirect control.     Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate thc Defendant's ability to pay,
and to request and review thc Defendant's federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (rclating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.



                                                   2
      Case 1:19-cr-00318-GLR Document 295 Filed 03/02/20 Page 3 of 9



                                          Waiver of Rights

        5.      The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

        a.      If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

         b.      If the Defendant elected a jury trial, the jury would be composed of twelve
 individuals selected from the community. Counsel and the Defendant would have the opportunity
 to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
 would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
 would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

        c.     If the Defendant went to trial, the govemment would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the govemment's witnesses. The Defendant would not have to present any
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend.

        d.     The Defendant would have the right to testify in the Defendant's own defense if
the Defendant so chose, and the Defendant would have the right to refuse to testify. If the
Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant's decision not to testify.

         e.      If the Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court's pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new tria! or dismissal of the charges. By
pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court's
decisions.

        f.      By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court's questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement.

       g.      If the Court accepts the Defendant's pica of guilty, thc Defendant will be giving up


                                                  3
      Case 1:19-cr-00318-GLR Document 295 Filed 03/02/20 Page 4 of 9


the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

        h.        By pleading guilty, the Defendant will also be giving up certain valuable civil
rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization.    The Defendant recognizes that iI' the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading goilty may have consequences with respect to the
Defendant's immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, ineluding automatic removal from the United States.
Removal and other immigration consequences arc the subject of a separate proceeding, however,
and the Defendant understands that no one, ineluding the Defendant's attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

                              Advisory Sentencing Guidelines Applv

        5.      The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.c. S 3551-3742 (excepting 18 U.S.c. ~ 3553(b)( I) and 3742(e)) and 28
U.s.c.~~ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

                           Factual and Advisory Guidelines Stipulation

        6.      This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office and the Defendant fmther
agree to the following applicable sentencing guidelinc factors:

           a. The parties agree that the United States Sentencing Guidelines ("U.S.S.G.")       base
              offense level is 20. U.S.S.G. ~ 2K2.I(a)(4).

           b.   Because the offense involved 3 or more firearms, the offense level is increased by
                2 levels. U.S.S.G. ~ 2K2.I(b)(I).

           c. This Office docs not oppose a two-level reduction in the Defendant's adjusted
              offense level pursuant to U.S.S.G. ~ 3EI.I(a), based upon the Defendant's apparent
              prompt recognition and affirmative acceptance of personal responsibility for the
              Defendant's criminal conduct. This Office agrees to make a motion pursuant to
              U.S.S.G. ~ 3EI.I(b) for an additional onc-Ievel decrease in recognition of the
              Defendant's acceptance of personal responsibility for the Defendant's conduct.
              This Office may oppose any adjustment for acceptance of responsibility under
              U.S.S.G. ~ 3EI.I(a) and may deeline to make a motion pursuant to U.S.S.G. S
              3E 1.1(b), if the Defendant: (i) fails to admit each and every item in tbe factual

                                                  4
      Case 1:19-cr-00318-GLR Document 295 Filed 03/02/20 Page 5 of 9


                stipulation; (ii) denies involvement in the offense; (iii) gives conflicting statements
                about the Defendant's involvcment in the offense; (iv) is untruthful with the Court,
                this Office, or the United Statcs Probation Officc; (v) obstructs or attempts to
                obstruct justice prior to sentencing; (vi) engages in any criminal conduct between
                the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
                the plea of guilty; or (viii) violates this Agreement in any way.

            d. Therefore,    the total offense level is 19.

         7.      There is no agreement as to the Defendant's criminal history and the Defendant
undcrstands that thc Dcfcndant's criminal history could alter the Defendant's offense level.
Specilically, the Defendant understands that the Defendant's criminal history could alter the final
offense level if the Defendant is determined to he a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant's income. The Defcndant agrccs thc Defendant will not raise any argument that any
specilic prior conviction is not a predicate for a carcer offender designation under U.S.S.G.
~4B1.1.

         8.      Other than as set forth above, no other offense charactcristics, sentencing guidelines
factors, potential dcpartures or adjustmcnts sct forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

                                      Obligations of the Parties

         9.      At the time of sentencing, this Office and the Defendant reserve the right to
advocate for a reasonable sentence, period of supervised release, and/or fine considering any
appropriate factors under 18 U.s.C. ~ 3553(a). This Office reserves the right to bring to the Court's
attention all information with respect to the Defendant's background, character, and conduct that
this Oflice deems relevant to sentencing, ineluding the conduct that is the subject of any counts of
thc Indictmcnt. At thc time of sentencing, this Officc will move to dismiss any open counts against
the Defendant.

                                          Waiver of Appeal

       10.     In exchange for the concessions made by this Office and the Defendant             in this
Agrecment, this Office and the Defendant waive their rights to appeal as 101l0ws:

        a.       The Defendant knowingly waives all right, pursuant to 28 U.S.C. ~ 1291 or any
other statute or constitutional provision, to appeal the Defendant's conviction on any ground
whatsoever. This ineludes a waivcr of all right to appeal the Defendant's conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct docs not fall within the scope of the statute(s).

         b.     The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.c. ~ 3742 to appeal whatever sentence is imposed (including any terrn of imprisonment,
line, tenn of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant's criminal history,

                                                   5
       Case 1:19-cr-00318-GLR Document 295 Filed 03/02/20 Page 6 of 9

 the weighing of the sentencing factors, and any constitutional challenges to the calculation and
 imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
 condition of supervised release), except as follows:

                (i)   The Defendant reserves the right to appeal any sentence that exceeds the
 statutory maximum; and

                (ii)    This Office reserves the right to appeal any sentence below a statutory
minimum; and

        c.      The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned mailer and agrees not to file
any request for documents from this Office or any investigating agency.

                        Defendant's   Conduct Prior to Sentencing and Breach

         II.     a.      Between now and the date of the sentencing, the Defendant will not engage
in conduct that constitutes obstruction of justice under U.S.S.G. ~ 3Cl.l; will not violate any
fedcral, state, or local law; will acknowledge guilt to the probation officer and the Court; will be
truthful in any statement to the Court, this Office, law enforcement agents, and probation officers;
will cooperate in the preparation of the presentence report; and will not move to withdraw from
the plea of guilty or from this Agreement.

                b.       If the Defendant engages in conduct prior to sentencing that violates the
above paragraph of this Agreement, and the Court finds a violation by a preponderance of the
evidence, then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office
may make sentencing arguments and recommendations different from those set out in this
Agreement, even if the Agreement was reached pursuant to Rule 1I(c)(1)(C); and (iii) in any
criminal or civil proceeding, this Office will be free to usc against the Defendant all statements
made by the Defendant and any of the information or materials provided by the Defendant,
including statements, information, and materials provided pursuant to this Agreement, and
statements made during proceedings before the Court pursuant to Rule II of the Federal Rules of
Crimiual Procedure. A detennination that this Offiec is released from its obligations under this
Agreemcnt will not permit the Defendant to withdraw the guilty plea.                   The Defendant
acknowledges that the Defendant may not withdraw the Defendant's guilty plea-even               if madc
pursuant to Rule 1I(e)(l)(C)-if      the Court finds that the Dcfcndant breached the Agreement. In
that event, neither the Court nor the Government will be bound by the specific sentence or
sentencing range agreed and stipulated to herein pursuant to Rule II (e)( 1)(C).

                                          Court Not a Party

         12.     The COUl1is not a party to this Agreement. The sentence to be imposed is within
the sale discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement. The Court will determine the facts relevant to sentencing. The Court is not
required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximnm penalty allowed by law. If the Court makes sentencing
findings different from those stipulated in this Agreemcnt, or if the Court imposes any sentence up

                                                   6
       Case 1:19-cr-00318-GLR Document 295 Filed 03/02/20 Page 7 of 9

 to the maximum allowed by statute, the Defendant will remain bound to fulfill all ofthe obligations
 under this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
 prediction, promise, or representation as to what guidelines range or sentence the Defendant will
 receive. The Defendant agrees that no one has made such a binding prediction or promise.

                                         Entire Agreement

        13.      This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effectivc unless in writing, signed by all parties and approved by the Court.

        If the Defcndant fully accepts each and every term and condition of this Agreement, plcase
sign and have the Defendant sign the original and return it to me promptly.


                                              Very truly yours,

                                              Robert K. II nr
                                              United:~ey             ~

                                          BY: __       ~~~                             _
                                              Matthew DellaBetta
                                              Assistant United Statcs Attorney


        [have read this Agreement, including the Scaled Supplement, and carefully reviewcd evcry
part of it with my attorney. [understand it and [ voluntarily agree to it. Specifically, [ havc
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.


                                              liC\WOO d D<J\\f i~
                                              Linwood Davis


         I am the Defendant's attorney. I havc carefully reviewcd every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its tcrms. To my knowledge, the Defendant's decision to enter
into this Agreement is an infonned and voluntary one.



2.2.s.{.o
Date

                                                   7
      Case 1:19-cr-00318-GLR Document 295 Filed 03/02/20 Page 8 of 9



                                        ATTACHMENT         A

                                   STIl'ULATION      OF FACTS

         The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

        In February 2019, Linwood DAVIS was shot in Baltimore, Maryland. Shortly after
DAVIS' release from the hospital, DAVIS posted on his Instagram page that he would seek
vengeance against those who shot him. On March 2 I, 20 19, DAVIS posted the following on his
Instagram account:

"To my brother kee god took you at that wrong time but I got the pipe [emoji of a water pistol]
and it's on so tell em its on now my triggcr finger itching and twitching I got to go get em I ain't
scared I probably hit em In they heads I took ah loss my brother dead [emoji of a skull] now let's
paint the city red I'm out looking for some revenge so momma keep me in ya prayers 100 [emoji
of a "no symbol"] #Ionglivemyniggas            [emoji of a breaking heart] #shineinpeacekee
#revengeissweet #prayformyniggas #warisuntildeath."

         Later on March 21, 2019, DEA investigators intercepting DAVIS telephone heard DAVIS
tell an associate to come bring him the "whatchamacallit." DEA agents snbsequently condncted
surveillance. During the night of March 2 I, 2019, DEA investigators observed DAVIS walk out
of a residence on 1007 Mount Holly Street in Baltimore, Maryland. DAVIS then got into a minivan
that drove away. Investigators followed the van to the area of 1600 W. North Avenue in Baltimore,
where the vehicle abruptly stopped and the passenger side door opened. Agents made contact with
the van, which was being driven by a livery driver.

        In the back of the minivan were DAVIS, "Co-conspirator I," and "Co-Conspirator 2."
Agents searched Co-Conspirator I and recovered two loaded firearms /i'om his person: one
Remington RM380 pistol bearing serial number RM024700C, and one H&R 929 revolver bearing
serial nnmber AN35744. Agents then searched Co-Conspirator 2 and recovered two loaded
firearms from his person: one Sig Saner P250 pistol bearing serial number EAK093284, and one
Taurus PT 224-7 Pro pistol bearing serial number SBM51917.

        DA VIS admits that he was in knowing and constructive possession of all four firearms and
that he jointly possessed the firearms with Co-Conspirator I and 2. Prior to March 21, 2019,
DA VIS knew he had been convicted in a court of a crime pnnishable by a tenn of imprisonment
exceeding one year, and his civil rights had not been restored. All four fireanll was capable of
expelling a projectile by the action of an explosive, thereby meeting the definition of a firearm
pursuant to 18 U.S.c. !l 921(a)(3). All four firearms were manufactnred outside the state of
Maryland and therefore affected interstate commerce.



                                                 8
Case 1:19-cr-00318-GLR Document 295 Filed 03/02/20 Page 9 of 9




                                  tz=
 SO STIPULATED:


                            Matthew DelIaBetta
                            Assistant United States Attorney


DATED:     -a.'S-).O
         ~d.                  LI~od th:.•i~
                            Linwood Davis
                            Defendant



DATED:   J. .2$. z.f:J   ~~
                            Counsel for Defendant




                              9
